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               IN THE UNITED STATES DISTRICT COURT FOR THE
             NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION



 Tiara Bliss, Inc.,
                                    )
                        Plaintiff,  ) No: 1:23−cv−1954
                                    )
         v.                         )
                                    )
                                    ) Hon. Harry D. Leinenweber
  THE INDIVIDUALS, CORPORATIONS, )
  LLCS, PARTNERSHIPS AND            )
  UNINCORPORATED ASSOCIATIONS )
  IDENTIFIED  ON    THE    ATTACHED)
  SCHEDULE A,                       )
                                    )
                        Defendants.



BARQCUE’S MEMORANDUM OF LAW TO DISSOLVE PRELIMINARY INJUNCTION

       NOW COMES BARQCUE (“Defendant”), through its counsel, the Keleher Appellate Law

Group, LLC, and respectfully asks this Court to dissolve the Plaintiff’s preliminary injunction.

                                       BACKGROUND

       Plaintiff Tiara Bliss asserts it owns a shower cap with U.S. Patent No. 9,398,780. This

patent was filed on August 25, 2015 and issued on July 26, 2016. On March 28, 2023, Plaintiff

filed a partially sealed Complaint for patent infringement. Doc. 1. It also filed an ex parte

Temporary Restraining Order, Doc. 8, which the Court granted on April 6, 2023. Doc. 14. Plaintiff

moved for a Preliminary Injunction on May 17, 2023. Doc. 32. On May 30, 2023, the Court

granted a Preliminary Injunction until July 18, 2023. Doc. 44. Defendant is a small business

located in China and operating its business on Amazon. See Mao Meizhen Decl. at ¶¶ 3-5, attached

hereto as Exhibit A. Defendant has sold Geyoga Shower Caps via Amazon under ASIN

B08R9GV8FT since 2020. Id. at ¶ 5. Defendant’s Amazon Store was suddenly frozen on April 21,

2023 by a notification from Amazon. Id at ¶ 7. Before this notification, Defendant never received
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any patent complaint from the Plaintiff. Id. at ¶ 8. The TRO did dire damage to the Defendant. Id.

at ¶ 9. The Defendant’s account of $926,359.73 is frozen as of May 30, 2023. Its ability to pay

suppliers, manufacturers, and employees has thus been eviscerated. Id. Finally, the increased fees

Amazon is charging has left the Defendant in a predicament whereby its revenues can barely

match its expenses. Id. at ¶ 10.

                                       ARGUMENT

       Preliminary injunctive relief is designed to minimize the hardship to parties pending the

resolution of a lawsuit. Faheem-El v. Klincar, 841 F.2d 712, 717 (7th Cir. 1988). When evaluating

the merits of a motion for preliminary injunctive relief, a district court examines whether the

movant has demonstrated that: (1) it has a reasonable likelihood of success on the merits of its

claim; (2) no adequate remedy at law exists; (3) it will suffer irreparable harm if preliminary

injunctive relief is denied; (4) the irreparable harm it will suffer without preliminary injunctive

relief outweighs the irreparable harm the nonmoving party will suffer if the preliminary injunction

is granted; and (5) the preliminary injunction will not harm the public interest. Platinum Home

Mtge. Corp. v. Platinum Fin. Group, Inc., 149 F.3d 722, 726 (7th Cir. 1998). Here, the Plaintiff

should not have been entitled to a preliminary injunction against the Defendant because the

Plaintiff was not likely to succeed on the merits, the Plaintiff will not suffer irreparable harm, the

Defendant will suffer irreparable harm from the injunction that is disproportionate to the alleged

infringing activity, and the injunction harms the public interest. What is more, the TRO previously

granted (and now the Preliminary Injunction) has substantially interfered with the Defendant’s

business and caused the Defendant significant loss. The Preliminary Injunction should thus be

dissolved as to Defendant Barqcue.

       A.      The Plaintiff Will Not Succeed On The Merits.

       District Courts in this Circuit hold that the standard for granting a temporary restraining

order and the standard for granting a preliminary injunction are identical. See, e.g., Charter Nat’l

Bank & Trust v. Charter One Fin., Inc., No. 1:01-cv-00905, 2001 WL 527404, *1 (N.D. Ill. May
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15, 2001) (citation omitted). See also Ty, Inc. v. The Jones Group, Inc., 237 F.3d 891, 895 (7th

Cir. 2001). FRCP Rule 65 is clear regarding issuance of a temporary restraining order without

notice. The Court may only do so upon a showing of “specific facts in an affidavit or a verified

complaint.” FED.R.CIV.P. 65(b)(1)(A). Here, the general allegations submitted by the Plaintiff are

inapplicable to the Defendant. The Plaintiff failed to specifically allege any facts of counterfeiting

activities that support issuance of a preliminary injunction. The Complaint is similarly bereft of

any analysis of the Defendant’s alleged infringement. To be infringing, every limitation of the

asserted patent claims must be found in the infringing product, either literally or by equivalence.

SmithKline Diagnostics, Inc. v. Helena Labs. Corp., 859 F.2d 878, 889 (Fed. Cir. 1988). For

design patents, the ultimate inquiry for obviousness is whether the claimed design would have

been obvious to a designer of ordinary skill who designs articles of the type involved. 35 U.S.C. §

103; Titan Tire Corp. v. Case New Holland, Inc., 566 F.3d 1372, 1380-81 (Fed. Cir. 2009). In

assessing this question, courts should avoid “hindsight bias and must be cautious of arguments

reliant upon ex post reasoning.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 421 (2007). One

underlying issue is whether a prior art design qualifies as a “primary reference.” High Point

Design LLC v. Buyers Direct, Inc., 730 F.3d 1301, 1311 (Fed. Cir. 2013). A primary reference is a

single reference that creates the same visual impression as the claimed design. Id. at 1312. Slight

differences in design do not necessarily preclude a finding. MRC Innovations, Inc. v. Hunter Mfg.,

LLP, 747 F.3d 1326, 1333 (Fed. Cir. 2014).

       Here, the Plaintiff did not establish the Defendant’s product is infringing. The Plaintiff

provided no claim chart, which is crucial to demonstrate how the accused product maps onto the

patent claims. Without a claim chart, the Plaintiff has not shown how every limitation of its

asserted patent claims is found in the Defendant’s product. Further, prior art renders the Plaintiff’s

design patent obvious, and thus invalid under 35 U.S.C. § 103.

       B.      The Plaintiff Will Not Be Irreparably Harmed.

       A patentee seeking a preliminary injunction must demonstrate that irreparable injury is
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likely in the absence of an injunction. New York v. U.S. Dep’t of Homeland Sec., 969 F.3d 42, 86

(2d Cir. 2020). Irreparable harm is injury that is neither remote nor speculative, but actual and

imminent and cannot be remedied by money. Id. Additionally, a patentee must show “that a

sufficiently strong causal nexus relates the alleged harm to the alleged infringement.” Bio-Rad

Lab’ys, Inc. v. 10X Genomics Inc., 967 F.3d 1353, 1378 (Fed. Cir. 2020).

        That critical connection cannot be shown here. The risk of irreparable harm to the Plaintiff

is practically nonexistent because the Defendant does not sell counterfeit products. Despite making

conclusory statements of the threat and potential harm to the Plaintiff, this has nothing to do with

the Defendant. The timing of this lawsuit further undermines the Plaintiff’s claim of irreparable

harm. The Plaintiff’s patent was issued in 2016. The Defendant began publicly selling its product

on Amazon in December 2020. See Meizhen Decl. at ¶ 5. It took almost two years for the Plaintiff

to sue. The lengthy delay here is incompatible with the Plaintiff’s claim of impending harm.

Finally, the Plaintiff's alleged losses are economic in nature and if properly proven, can be

compensated later. The Court need look no further than the Plaintiff’s TRO memorandum of law

for confirmation. It states: “Plaintiff has its patent right only for a limited time” and that the

“Plaintiff has shown a record of declining to license its patent rights and instead exploit the right

of exclusion to further its interest in developing, marketing, and selling its own products.” See

Doc. 8 at pp. 7-8. These are quintessentially economic harms that can be compensated via

monetary damages. Indeed, the Plaintiff has not argued how these economic losses translate into

irreparable harm that transcend monetary damages.

        In sum, not only did the Plaintiff not provide a claim chart to Defendant, but it also offered

scant evidence to substantiate its allegations. As a matter of law, showing the balance of hardships

and public interest must be more compelling. The Plaintiff has failed this standard. Considering

the facts alleged, it is clear the Plaintiff is not entitled to injunctive relief to protect it from harm.

The Plaintiff thus failed to establish a likelihood of irreparable harm. The Court should thus

dissolve the preliminary injunction as to Defendant Barqcue.
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       C.         The Defendant’s Assets Should Be Unfrozen.

       While asset freezes are common in actual counterfeiting cases, they are still an extreme

remedy that should be used sparingly. A court may not freeze a defendant’s assets solely to

preserve a plaintiff’s right to recover damages. Grupo Mexicano de Desarrollo, S.A. v. Aliance

Bond Fund, Inc., 527 U.S. 308, 325 (1999). Here, the Plaintiff fails to establish any facts which

support a blanket-freeze of the Defendant’s assets. The Plaintiff’s generic allegations regarding the

ill-gotten gains of foreign counterfeiters have no bearing on the Defendant. This is a sufficient

basis to vacate the asset freeze. Moreover, a court cannot freeze assets that are not the proceeds of

counterfeiting.

       D.         The Defendant Should Be Awarded Fees And Costs.

       Along with unfreezing the Defendant’s assets, the Court should also award fees and costs

incurred in bringing this Motion. Federal Rule of Civil Procedure 65 instructs that a preliminary

injunction may issue only if the movant “gives security in an amount that the court considers

proper to pay the costs and damages sustained by any party found to have been wrongfully

enjoined or restrained.” FED. R. CIV. P. 65(c). An injunction bond compensates the defendant, if he

prevails on the merits, for the harm that an injunction entered before the final decision caused him.

Ty, Inc. v. Jones Grp., Inc., 237 F.3d 891, 895 (7th Cir. 2001). Because that is the precise scenario

here, such relief is warranted. The Defendant suffered substantial, irreparable harm due to the

injunctive relief with over $900,000 restrained. As a legitimate business seller, with this restrained

amount, the Defendant’s business has been severely hindered. The Defendant thus asks the Court

to release the bond and award damages to the Defendant for the wrongful action and for attorney’s

fees and costs incurred by the Defendant in bringing this Motion.

       E.         A Bond Should Be Ordered or Increased.

       Finally, for the reasons set forth in co-Defendant Auban’s Motion Opposing Preliminary

Injunction, see Doc. 35 at pp. 8-9, which the Defendant adopts and incorporates the bond
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argument section herein, the Court should further require the Plaintiff to post a bond of no less

than $1,000,000.


                                      CONCLUSION

       For the foregoing reasons, the Defendant respectfully requests the Court dissolve the

preliminary injunction, order any third-party providers to release funds in Defendant’s accounts

and lift any restraints on Defendant’s accounts, award fees and costs to the Defendant, and for

such other relief the Court deems just.


 May 30, 2023                             Respectfully submitted,


                                          s/ Christopher Keleher

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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on May 30, 2023, a true and correct copy

of the foregoing document was filed electronically with the Clerk of the Court and served on all

counsel of record.


        Respectfully submitted,

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